                                                                        Motion (DE #15) GRANTED.




                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

ERNEST KEVIN TRIVETTE, ET AL.,                           )
                                                         )
                                      Plaintiff,         )
                                                         )
v.                                                       ) Civil No. 3:20-cv-00276
                                                         ) Judge Trauger
                                                         )
TENNESSEE DEPARTMENT OF CORRECTION, )
                                    )
                                                         )
                              Defendant.   )
____________________________________________________________________________
            PLAINTIFFS’ MOTION FOR LEAVE TO FILE SUR-REPLY
______________________________________________________________________________
         Plaintiffs Ernest Kevin Trivette and Disability Rights Tennessee, by and through counsel,

move this Court for leave to file the attached Sur-Reply to Defendant Tennessee Department of

Correction’s Reply to Response to Motion to Dismiss, ECF No. 14. Plaintiffs seek to file a Sur-

Reply for the limited purpose of rebutting Defendant’s assertion that the continuing violations

cases cited in Plaintiffs’ Response, ECF No. 13, are no longer good law.

Respectfully submitted,

DISABILITY RIGHTS TENNESSEE

/s/_Stacie L. Price

Stacie L. Price (TN Bar# 030625)
Disability Rights Tennessee
2 International Plaza, Suite 825
Nashville, TN 37217
(615) 298-1080
staciep@disabilityrightstn.org




     Case 3:20-cv-00276      Document 16           Filed 06/02/20   Page 1 of 1 PageID #: 106
